                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,
                                            Plaintiff,                               PRETRIAL ORDER
                  v.
                                                                                       Case No. 20-CR-26
 YOUSEF OMAR BARASNEH,
                                            Defendant.


        In accordance with the Federal Rules of Criminal Procedure and the Criminal Local Rules for the United States District
Court for the Eastern District of Wisconsin, IT IS ORDERED that as part of the pretrial proceedings in this case the parties shall
comply with the following motion practice:

    1. All motions, together with supporting documents, shall be filed by February 21, 2020;
       Opposing memorandum shall be filed by March 2, 2020;
       Any reply shall be filed by March 9, 2020.

        a. Each motion shall be filed separately, although the moving party may file one memorandum in support of
           multiple motions.
        b. The length of any legal memorandum shall be in accordance with Civil L.R. 7(f).
        c. Any discovery motion under Fed. R. Crim. P. 16(a) or 16(b) must be accompanied by the statement required
           by Criminal L.R. 16(b).
        d. No motions to adopt or join in a motion of a co-defendant will be permitted without prior approval of the
           court for good cause shown.

    2. a.  If either party files a motion seeking an evidentiary hearing, Criminal L.R. 12(c) applies and the movant is not
           required to file a supporting memorandum of law with the motion. (See Criminal L.R. 12(b)(5)).
        b. If a motion seeks an evidentiary hearing, the movant shall provide in the motion:
           (1) a short, plain statement of the principal legal issue or issues at stake and specific grounds for relief in the
                motion;
           (2) after a conference with the non-moving party, a description of the material disputed facts that the movant
                claims require an evidentiary hearing; and
           (3) an estimate of the in-court time necessary for the hearing.
        c. The non-moving party may file a response opposing an evidentiary hearing within 3 days after filing of a
           movant’s motion seeking an evidentiary hearing. The non-movant’s response shall include a short, plain
           statement of why that party believes that an evidentiary hearing is unnecessary. (See Criminal L.R. 12(c)).

    3. All motions pertaining to bail (e.g. motions for reduction of bail, modifications of conditions of release, and
       reconsideration of detention orders) shall be addressed to the magistrate judge who set bail or issued the
       order of detention. A copy of the motion and proposed order shall be delivered to the applicable magistrate judge at the
       following email address:

                                  William E. Duffin               DuffinPO@wied.uscourts.gov
                                  Nancy Joseph                    JosephPO@wied.uscourts.gov
                                  James R. Sickel                 wied_clerks_gb@wied.uscourts.gov

    Dated: February 6, 2020, at Milwaukee, Wisconsin.

                                                                              s/Nancy Joseph
                                                                              UNITED STATES MAGISTRATE JUDGE



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